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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF`MARYLANI)
BALTIMORE DIVISI()N

LAURIE D. PERRAULT, Individually
and as Personal Representative of the
Estate of KENNETH LEE PERRAULT,
Deceased

113 Robin Avenue

Stephens City, VA 22655

and

TO THE USE OF ERICH PERRAULT,
Minor, §
1 13 Robin Avenue §
Stephens City, VA 22655 §

and

TO THE USE OF IAN PERRAULT,
Minor,

113 Robin Avenue

Stephens City, VA 22655

Plaintiffs,
Case No.:

V.

THE CENTER FOR PAIN
MANAGEMENT, L.L.C.

11921 Rocl<vin¢ Pil<e
Suite 505 l
Rockville, MD 20852

'Serve: Prabaal Dey, M.D.
Suite 505
11921 Rockville Pike
Rockville, MD 20852

and

THE CENTER FOR PAIN
MANAGEMENT ASC, L.L.C.
11921 Rockville Pike

Suite 505

Rockville, MD 20852

 

 

 

 

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Serve: Prabaal Dey, M.D.
Suite 505
11921 R@Ckviue Pike
Rockville, MD 20852

and
THE CENTER FOR PAIN
MANAGEMENT, P.C.
11921 Rockville Pike

Suite 505
Rockville, MD 20852

Suite 505

1 1921 Rockville Pike

Rockville, MD 20852
and
ALI EL-MOHANDES, M.D.
The Center for Pain Management,
1150 Professional Court
Suite P
Hagerstown, MD 21740

Serve: Robert Lee §
Defendants. §

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§ COMPLAINT
lCOMES NOW the Plaintiff, Laurie D. Perrault, individually and in her capacity as
Personal Representative of the Estate of the deceased Kenneth Lee Perrault, her husband, and
to the use of the Decedent‘s surviving children, Erich Perrault and lan Perrault, by and
through her attorneys, Edward L. Norwind, Ronald A. Karp, and Murray D. Scheel of the law
firm of Karp, Frosh, Lapidus, Wigodsky & Norwind, P.A., and states the following as her

cause of action against the Defendants The Center for Pain Management, L.L.C., The Center

 

 

 

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for Pain Managernent ASC, L.L.C., The Center forPain Management, P.C., and Ali El-
Mohandes, M.D.
JURISDICTION AND PARTIES

l. At all relevant times up to and including his death, the Decedent Kenneth Lee
Perrault and his surviving wife, Plaintiff Laurie D. Perrault, resided in Stephens City,
Virginia.

2.7 Laurie D. Perrault is the duly appointed personal representative of the Estate ot`
Kenneth Lee Perrault and remains a resident of Stephens City, Virginia. She brings this
action as the Estate representative, and also individually on her own behalf, and to the use of
Erich Perrault and lan Perrault, their children, pursuant to Maryland Rule 15-1001.

3. ' Erich Perrault (date of birth May 4, 1992) and Ian Perrath (date of birth June
15, 1988) are the only children of the Decedent Kenneth Lee Perrault and the Plaintiff Laurie
D. Perrault. They Were minors at the time of their father’s death. With their mother, the
Plaintiff Laurie D. Perrault, they constitute all the known persons who are or may be entitled
by law to damages by reason of the Wrongful death of the Decedent Kenneth Lee Perrault.

4. At all relevant times, Defendants The Center for Pain Management, L.L.C.,
The Center for Pain Management ASC, L.L.C., and The Center for Pain Management, P.C.,
Were business entities organized and existing under the laws of Maryland. All three entities
are referred to collectively throughout the rest of this claim as “CFPM.” Upon information
and belief, CFPl\/l owned and operated The Center for Pain Managernent located at 1150
Professional Court, Suite P, Hagerstown, Maryland. CFPM rendered the medical care and
treatment in question to the Decedent Kenneth Lee Perrault at The Center for Pain

Management located at 1150 Professional CourtJ Suite P, Hagerstown, Maryland, through its

 

 

 

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employees and agents, including Ali El-l\/lohandes, M.D., and Elizabeth Whittington,
C.R.N.P.

5 . Defendant Ali El-l\/lohandes, M.D., was at all material times a licensed
Maryland physician and an attending physician on the staff of CFPM at 1150 Professional
Court, Suite P, Hagerstown, Mai'yland. At all relevant times Dr. El-Mohandes Was an
employee or agent of` the CFPM, acting Within the scope of his employment or agency. Upon
information and belief`, Dr. El-Mohandes is also a citizen of` Maryland.

6. Pursuant to Maryland Code Annotated, Courts and Judicial Proceedings § 3-
2A-04, The Plaintif`fs filed an initial Claim With the Health Claims Arbitration Office of
Maryland on February 28, 2007, along With a Certificate of Merit of a Qualified Expert.
Pursuant to Courts and Judicial Proceedings § 3-2A-06B, the Plaintiffs subsequently filed an
Election f`or Waiver of Arbitration on April 19, 2007 and served it on the parties in this action.
The Health Claims Arbitration Office issued an Order of Transf`er to the United States District
Court on May 16, 2007, and, Within 60 days after the filing of the Plaintiffs’ Election f`or
Waiver of Arbitration, the Plaintiffs filed this instant Complaint with this Honorable Court,_
pursuant to Courts and Judicial Proceedings § 3-2A-06B(f`)(1). Therefore, the Plaintif`f` has
satisfied the administrative prerequisites to the timely filing of this action. A copy oi" the
Plaintiff`s’ Election to Wa.ive Arbitration and Order of` Transfer are attached as Exhibits One
and Tvvo.

7. Subject l\/latter Jurisdiction is based on diversity of citizenship pursuant to 28
U.S.C. § l322(a), -(c)(l)-(Z). Since the Decedent, Kenneth Perrault, Was a citizen of Virginia
at the time of his death, and his Estate Was filed in Virginia, Plaintiff Laurie D. Perrault is also

deemed a citizen of Virginia in her capacity as the Personal Representative of her husband’s

 

 

 

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Estate, pursuant to 28 U.S.C. § 1322(c)(2). The corporate Defendants are citizens of
Maryland pursuant to 28 U.S.C. § 1322(c)(l) because they are all organized under Maryland
law, have their principal place of business in Maryland, and, upon information and belief,
have their corporate headquarters in Maryland. The Plaintif`fs are therefore all citizens of
Virginia and the Defendants are all citizens of Maryland. The amount in controversy exceeds
$75,000.00, exclusive of interest and costs. This Court therefore has Subject Matter
Jurisdiction based on diversity, pursuant to 28 U.S.C. § 1322(a). ln addition, this Court also
has Personal Jurisdiction of the Defendants because the alleged acts of negligence complained
of occurred in I-Iagerstown, Maryland, in the course of the Defendants’ regular business there
as health care providers Venue is also therefore proper in the Northern Division of the
United States District Court for the District of Maryland, at Baltimore, pursuant to 28 U.S.C
§§ 100(1); 1391 (a)(l)-(Z).
COUNT I

(VVrongful Death - Medical Negligence)

8. The aforesaid Defendants held themselves out to the public at large as
possessing that degree of skill, knowledge, and ability ordinarily possessed by health care
providers acting under the same or similar circumstances, and these Defendants owed a duty
to Kenneth Lee Perrault to exercise the degree of care, skill, and judgment ordinarily
exercised by health care providers in like or similar circumstances in their care and treatment
of Mr, Perrault.

9. At the time of the treatment in question, Dece_dent Kenneth Lee Perrault was a

forty-five year old man, date of birth August 11J 1960.

 

 

 

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10. ~ln 2000, Mr. Perrault started to receive treatment for chronic pain at The
Center for Pain Management at 1150 Professional Court, Suite P, HagerstownJ Maryland.

11. In March 2002, Dr. Marc Loev at The Center for Pain l\/Ianagement started
treating Mr. Perrault with Prozac.

12. Starting in approximately Apri12005, Ali El~Mohandes, M.D., and Elizabeth
Whittington, C.R.N.P., under the direction and supervision of Dr. El-Mohandes and of her
employer or principal, became Mr. Perrault’s treatment providers at rl`he Center for Pain
Management.

13. Dr. El-Mohandes and Nurse Practitioner Whittington continued to treat Mr.

- Perrault with a combination of pain medications that included Prozac.

14. On January 31, 2006, Dr. Ali El-Mohandes and Nurse Practitioner Whittington
ordered a prescription for Mr. Perrault to take 10 mg of Methadone three times a day.

15. At the same time, they did not discontinue his treatment with Prozac.

16. Mr. Perrault filled the prescription for Methadone at a pharmacy on February
l, 2006.

17. Mr. Perrault started taking Methadone that day, as prescribed by Dr. El-
l\/lohandes and Nurse Practitioner Whittington.

18. On February 7, 2006, Mr. Perrault’s wife found him in an un-arousable state
and having difficulty breathing

19. Emergency medical technicians were dispatched to Mr. Perrauit’s home via a
911 call. 'l`he technicians found Mr. Perrault in full cardiac arrest.

20. He was taken to the Winchester Medical Center, where resuscitation was

attempted without successl

 

 

 

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21. At 07:55 a.rn. of that same day, February 7, 2006, he was pronounced dead.

22. An autopsy performed by the Virginia Chief Medicai Examiner’s office lists
the cause of death as methadone poisoning.

23. Defendants The Center for Pain Management, L.L.C., The Center for Pain
l\/Ianagernent ASC, L.L.C., The Center for Pain Management, P.C., and Ali El-Mohandes,
M.D., negligently:

(a) Prescribed an excessive dose of methadone, i.e., too high a dose with
closing intervals that were too short;

(b) Failed to accurately calculate the methadone dose relative to Mr. Perrault’s
prior narcotics use;

(c) Failed to provide Mr. Perrault with information to enable him to recognize
signs and symptoms of Methadone toxicity;

(d) Failed to instruct Mr. Perrault of the potential drug-drug interactions
between Methadone and Prozac;

(e) Failed to schedule a follow-up visit (or least to make a follow-up telephone
call to Mr. Perrault) within a few days of starting methadone to check for
toxicity;

(f) Failed to provide appropriate and adequate supervision of Nurse
Practitioner Elizabeth Whittington;

The Defendants were negligent in other ways.
24. These negligences by the Defendants directly caused Mr. Perrault’s Methadone

toxicity and resulting death.

 

 

 

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25. As a direct result of the Decedent's death, his widow, Plaintif`f Laurie D,
Perrault, has and will suffer grief, mental anguish, emotional pain and suffering, loss of
society, companionship, marital care, comfort, advice and protection Plaintiff` Laurie ll
Perrault has and will sustain pecuniary loss including lost financial support and other
contributions, and the reasonable value of services the Decedent would have provided had he
lived his normal expected life. Plaintiff Laurie D. Perrault has been damaged in other ways.

26. The Decedent‘s_surviving children, Erich Perrault and lan Perrault, have and
will sustain grief, mental anguish, emotional pain and suffering, loss of society,
companionship, protection, filial care, advice, and the guidance of their father. They have and
will sustain pecuniary loss including loss of financial support and other contributions, and the
reasonable value of services the Decedent would have provided had he lived his normal
expected life. The Decedent's children have been damaged in other ways.

WHEREFORE, Plaintiff` Laurie D. Perrault, individually and to the use of Erich
Perrault and Ian Perrault, demands: (a) A determination that Defendants The Center for Pain
Management, L.L.C., The Center for Pain Management ASC, L.L.C., The Center for Pain
Management, P.C., and Ali El-l\/iohandes, i\/I.D., are jointly and severally liable in negligence
for the death of Plaintiff‘s Decedent Kenneth Lee Perrault; and (b) An award against said
Defendants, jointly and severally, in the amount of $4,000,000, exclusive of interest and costs,
for the wrongful death of Kenneth Perrault, pursuant to Maryland Code Annotated, Courts &

Judicial Proceedings § 3-904 et seg.

 

 

 

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COUNT II

(Survival Action)

27. Paragraphs 1 through 26 of this Statement of Claim are re-alleged and
incorporated by reference herein.

28. As a result of the aforesaid negligence, Plaintiff‘s Decedent suffered conscious
pain and suffering, anxiety, fright, decreased mental functioning, impaired work functioning,
slurred speech, difficult breathing, and loss of consciousness prior to his death. The
Decedent's Estate incurred medical expenses, funeral expenses, and lost future income. The
Decedent's Estate has been damaged in other ways

WHEREFORE, Plaintiff Laurie D. Perrault, as Personal Representative of the Estate
of Kenneth Lee Perrault, demands: (a) A determination thatl Defendants The Center for Pain
Management, L.L.C., The Center for Pain Management ASC, L.L.C., The Center for Pain
l\/lanagement, P.C., and Ali El-Mohandes, M.D., are jointly and severally liable in negligence
to the Decedent's Estate; and (b) An award against said Defendants, jointly and severally, in
the amount of $1,000,000, exclusive of interest and costs, pursuant to the Survival Act,

Maryland Code Annotated, Courts & Judicial Proceedings § 6-401 et seg.

 

 

 

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Respectfully submitted,

KARP, FR()SH, LAPIDUS, WIGODSKY
& NORWIND, P.A.

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Arrorneysfor the Plaintiffs'

DEMAND FOR JURY TRIAL
Pursuant to Maryland Rule 2-325(a), the Plaintiffs demand a trial by jury on all issues

in this action.

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Edward L. Norwind,

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